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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA


                           Alexandria Division




 FRACTAL ANALYTICS, INC.,

                       Plaintiff,

 V.                                         Civil Action No. 1:18CV853

 FRACTALANALYTICSPRO.COM,

                   Defendant.




                                    ORDER


      This matter comes before the Court on the Report and

 Recommendation of the Magistrate Judge dated November 30, 2018,

in response to Plaintiff Fractal Analytics, Inc.'s

 ("Plaintiff's") Motion for Default Judgment against Defendant

 FractalanalyticsPro.com ("Domain Name") pursuant to Federal Rule

of Civil Procedure 55(b)(2). The parties have not filed an

objection, and the time for filing such an objection has lapsed.

Based on a ^ novo review of the evidence in this case, having

reviewed the Report and Recommendation, it appears to the Court

that the Magistrate Judge's Report and Recommendation is neither

clearly erroneous nor contrary to law. Accordingly, this Court

affirms the findings of the Magistrate Judge. It is hereby
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